SK

November 17, 2010

HOUSING DISCRIMINATION COMPLAINT

CASE NUMBER: pending
FCHR NUMBER: 201140182 a4

1.

Complainants LD

Ajit Bhogaita => . 4
312C Cherokee Court 3 on
Altamonte Springs, FL 32201

Other Aggrieved Parsons

None.
The following is alleged to have occurred or is about to occur:

Discriminatory terms, conditions, privileges or services and
facilities.

Failure to make a reasonable accommodation
Tha alleged violation occurred because of:
Handicap

Address and location of the property in question (or if no property
is involved, the city and state where the discrimination occurred):

212C Cherokee Court
Altamonte Springs, FL 327201

Respondant (s)

Altamonte Heights Condominium Association, Inc.
Dawn Warren, Registered Agent

329 Raven Rock Lane

Longwood, FL 32750

The following is a brief and concise statement of the facts
regarding the alleged violation:

Complainant belongs ta a class of persons whom the Act protects from
unlawful discrimination because of his disability. Complainant
alleged in June he was advised to remove his emotional support
animal because it is over the weight limit. Complainant alleged he
has provided Respondent with medical dcecumentation and his emoticnal
support animal is currently in training. Complainant alleged there
are other residents in violation of the animal weight limit ard
other rules in the community.

Complainant alleged he is censtantly being asked to provide
additional medical information. Complainant alleged he is constantly
questioned by board members and the property manager concerning his
disabilities. Complainant believes Respondent has failed to make a
reasonable accommodation and has subjected him to discriminatory
term, conditions, privileges or services and facilities, in
violation of the Fair Housing Act.

8. The most recent date on which the alleged discrimination occurred:

November 06, 2010

9. Types of Federal Funds identified:
None.
10. The acts alleged in this complaint, if proven, may constitute a

vaolation of the following:

Section BO4f£3B and 804 b or f of Title VIII of the Civil Rights Act
of 1968 as amended by the Fair Housing Act of 1988.

Please sign and date this form:

I declare under penalty of perjury that I have read this complaint
(including any attachments) and that it is true and correct.

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(Dard)

HUD WILL FURNISH A COPY OF THIS COMPLAINT TO THE PERSON OR

NOT E:
ORGANIZATION AGAINST WHOM IT IS FILED.
Fechnical Assistance Questionnaire for Housing Complaints
Adin. Stepoatie Rondoter

= 1
Free: At RY, ya 3D\> BSG ~-
Your answers to this questionnaire are confidential pursuant to Florida Statute 760. (1(12) Co uf Qa.

PLEASE ANSWER ALL QUESTIONS ON PAGES 1-3

(Please answer the following:)

I.

i.

2.

CONTACT/PERSONAL INFORMATION ‘

Name: S<IMr. _iMs. [_[Mrs. First, Middle Nite o¢ Cait, Last AY it R aly Bi, &
OG |

Mailing Address: =3\>. CO Cher Eee Ca ore % ta

Zip Cod 2 Obi A LOPrAS HOMRS

_ SPC . . 6
. IF you want us (o contact youby e-mail, please provide your c-mail address: gobogey @ century, ink
net

. Home Phone: @ 407 Jae. Work Phone:( iLO 26a ~ OFF19

Cell Phone: (gay )34@ Date OF Birth:  @/A7 /NV73 (mmsaryyy)

. b .
_ TF you will be represaterby an attomey, please provide the attorney's name and phone number:

Name Phone ¢ }

Address:
Please provide the name and telephone number of an individual who does not live with you but would

know how to reach you:

Nameigesmgtte Phone:(613 ) 476-9937

Have you filed a complaint of discrimination with the FCHR, EEOC, HUD, ar any local agency within the
last year? If yes, complete below: NO
Agency Name:

Approximate date filed: / { (mmiddyyyy) Complaint or Charge Number, if known

TYPE OF COMPLAINT: Please indicate whether you wish to tile a(n):

i Housing Discrimination Claim (Do you believe you were discriminued aguingt because Of your we. color, religion. sex,

handigap, the presence af children inider the ave of 1X. & pregnund female ur le family ur your adional ore in}

(COMPLETE pages 1-4)

[1] Fanniial Status/Housing for Older Persons i] Reasonable Accominod:lion/ModiGication Claim

Discrimination Claim (Complete pages 1-3, then page 6)

(Complete pages 1-3, then page 5)

g00/z00R SOSSOL8L0b X¥4 GS bl FLOE/SG/LI
Your maswers to this questionnaire are confidentiad pursuant to (lorida Statute 760,11(£2)

(Please answer line tallowing)

3. CSTABLISHING JURISDICEION
a. Today's Date 10 430 fQO10 tmnvearyyyy’

b. What was the MOST RECENT DATE or LAST DATE that you were allegedly disenminated agaist
(Le. refused opportunity to rent or buy, evicted, failed to be served, ete.}? Wf OG f B18 tmavddyyyy)

If your answer to 3b. is over one year before today, please stop and contact a Coramission customer service
representative at (1-800-342-8170 or 1-85(d83-7082) OR slop and contact an attorney or your local legal aid soaety.

«. What is the address of the property in question?
Mailing Address: 318G Gharekee Cour
“ip Code: City County: State:

SaTOL AiXtamonte, § eck MES 1 Seminole Countug ye
4. What type of house or property was involved?
CJ Single family house PY A house or building for 2,3, or 4 familie
C) A building for five families or more ((}] Other, including vacant land held Jor residential use (please ex

Condam a uw

Ur

Basis for Housing Discrimination
Do you believe you were discriminated against becanse of your race, color, religion, sex, handicap, the presence of children uncer
the ace of 18, or a prepnant female in the family or your national ongin? Check ul that apply.

Race or Color: Ci Black CT White C] Other (Picnse identify) :

Religion: (Please identity) Cy Sex: Sy Female [| Male

Handicap (Please identily) % Physical Mental

Familial Status:  [_] Pregnant [] Child Under 18 years of age

National Origin: CJ Hispanic [J Agian or Pacific tslander{_] American Indian or Alaskan Nitive "omer (Please identify)

Other: (Flensc idemify)

»

OOOWOC

What did the person you are complaining against do? Check all that apply:

Refused to rent, sell or deal with you

Discriminate in the conditions or terms of sale, rental occupancy, or in services of facilities

Palsely deny housing was available

Engage in blockbusting

Discriminate in financing

Discriminate in broker's services

(ntimidated, interfered or coerced you to keep you from the full benefit of the Federal Fair iiousing Law

Other (Please specify}

a

What type of house or property was involved?

Single family house[SQA house or building for 2, 3 or 4 families CO ndominy ae,
A building for five families or more

Other, including vacant Jand held for residential use: (please explain)

OIC”

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goo/eo00F gogepocgiog xva €2-pl 1.02/80
Dues the owner live (here? 0 Yes |_|No | Unknown

$. Againyt whom is this complaint being filed?
Full Name: *t V¥omonte Neignts Cordtminiums  ©/a Bau + ew ais WO atten,

Address: 300) Crerkyee, Caouck

OLY hg monk ee Being Stale: wei? Code: , EL , Ba73\
Telephone number 2 j “s
407- Wa\-Qros7

‘This person(s) is a: [] Builder vr Owner NXT Sales Person WI Supervisor
tT Manager (_] Bank or other lender i | Other:

STATEMENT OF DISCRIMINATION
Summarize in your own words what happened:

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Sue BIO due do ayer WEY Vane
Oy. lS as. Weare ecoridah madi Ga \ A OHCs
vad 0) WES Oe ON Moe isda hy and

ANTMal teeing CONbINIVES “There aeg onl Figs
OCCnpalds vw Wh dod Tow ok SRG Rant and
otter anim cous “Ll aw} Keo wc Ns,

Aso ose su odV’d to dye Avaree vv
Lanse Sadar,

goc/pon GoSsonglor xX¥4 BZ PE OLOZSSO/LL
What ts your protected Class: race, religion, familial status, national origin, color, disabil:ty, sex? dirde\iny

Did you submit a rental application or contract for purchase? If so, when? Seaee 2OON
How were you notified that the application or contract was being denicd” pe yey

Are you a current resident at the property atissuc? ps.
Please describe the adverse uction taken against you (i.e. failure to rent/sile; discriminatry terms and conditions;

i
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eviction, other). eviction dvr de oantal ‘AY mss
Deseribe in detail the reason you believe you were discriminated against, providing date; Sasen walking, vor.
Who discriminated against you? A \Ygwovle Meigints Dannie + Dorr Wertre- 4 usual sgh
What is his/her position? Pro pei Vranaagr |
Were there any witnesses to the incidents you describe? ees = Who? Ooea, alle Miachea\ farreda ) Mepe. |
Provide names, addresses, and phone numbers. in 2,3, C rartaly ' |

. 1D woulding.
Did you tell anyone about the discriminatory actions? , | When? Provide namus, addresses, and phorie

numbers.
Is there any documentation of the incident(s) you described? WiS- 1 lollors

Is there witness testimony or physical documentation that corroborates your testimony? aq ~Saedeeeig. tony,

If so, please explain and provide copics, if possible. : Ga Yeastak tot paves

Do you believe you were treated differently from people outside your protected class (ep. race, Teligion, ete.}? URS
Provide the name and address of that person. What is that person's protect: d class?

Describe how that person was treated diffcrently and the conduct he/she engaged in.

Ts there any correspondence, letters, memorandums. or other documentation from you to your housing provider or

to you from your housing provider? x4

Are there any witnesses to the inctdents you described herein? ~ps = Please provide nan-es and addresses.

Please provide a copy of any documents or other information, including affidavits, which you believe will be
helpful tn this investigation.
Are you interested in pre-investigation conciliation?

Does an attomey represent you in this matter? If so, please provide name, address, and

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phone
TUTDeL.

300/500 R gossecszob XWd E2-pl OLoZg/Ba/tl
What is your disability? PTSD dye to milter,  Teduma | |

Do you have medicaj documentation describing your disability? ABS»

Describe your impairment. Bmagle +0 concantrale , Teor of Kose peate, undle + Cape

_ A] most Socatizalien |

How does it affect your ability to walk, talk, take care of your daily activities, sleep, cat, breathe, work, hear, |

andor see? dst, hagpen. nok Cemreek, undde te Sleep , eat pautindls, . “elev, trevhes a wd

. ay i

To what extent does your condition limit the above-mentioned activities? Supstantially APMIS Ny |
To what extent is your disability or impairment corrected by the medication or devices? veaaMer Siaese and

PRR Pre-ocKopablion ov

Is your condition permanent or temporary? wvlnon tox, wa Green OS wink .
Soke ree OS

When was the onset of the condition? {ay “Tene, \OACo

Explain how you made your housing provider aware of your disability or impairment. Provide date(s), waigA 3
rove Sh ‘\ Ve we SAD Proting tortaticcs\ ia
Did you request an accommodation? was

What accommodation did you ask for and who did you ask? Lens pig? Seotemal ~ Bosra errs — rapes, war |

What was your housing provider's response to your request for an accommodation? Lely Gale: vy, fo eno,

. . . nal
Why do you belicve the housing provider refused your request for an accommodation? Wey avdmal welds tee thon |
What reason did the housing provider give for not providing you an accommodation? “25° ‘ts. :

_ mo ne ASON .
Did the housing provider offer a different accommodation? Explam1.

If so, why was this accommodation not acceptable te you? |

Did you suggest alternative accommodations? |, 8 Explain.
Are you aware of other residents who received accommodations by your housing provider? wes Please explain

what accommodations were provided to whom. Saswma af antvals mar aida Tame aad nuehor alleued |
.

Is there any correspondence, letters, memorandums, or other documentation from you to vour housing provider or

to you from your housing provider? YS - |

Are there any witnesses to the incidents you described herein? Please provide names and addresses.

Piease provide a copy of any documents or other information, including affidavits, which you believe will be |
helpful in this investigation.

Are you interested in pre-investigation conciliation? Whe

Does an attomey represent you in this matter? If sa, please provide name, address, and phone number.

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